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                UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA

JODI C. MAHDAVI,                  )
                                  )
                                  )
                                  )
     vs.                          )
                                  )
NEXTGEAR CAPITAL, INC.            )     CASE NO. 1:14Cv0648
                                  )
                                  )
                Defendants.       )
                                  )

                              WITNESS LIST


                         Plaintiff’s Witnesses

1) Jodi Mahdavi – 4/28/15

2) John Smiley – 4/28/15

                         Defendant’s Witnesses


1) David Freeman – 4/28/15

2) Navid Mahdavi – 4/28/15
